 Case 2:21-cv-06302-JAK-GJS Document 10 Filed 11/10/21 Page 1 of 1 Page ID #:106

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    LA CV21-06302 JAK (GJSx)                                         Date        November 10, 2021
 Title       Lamar Myers v. Michael Fady Barsoum, et al.




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                   T. Jackson                                              Not Reported
                  Deputy Clerk                                     Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                    Not Present                                             Not Present


 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                         OF PROSECUTION MICHAEL FADY BARSOUM, et al.

The Court, on its own motion, orders Plaintiff to show cause in writing no later than November 17,
2021, why this action should not be dismissed for lack of prosecution. In the absence of showing good
cause, an action shall be dismissed if the summons and complaint have not been served within 90 days
after the filing of the complaint pursuant to Fed. R. Civ. P. 4(m). In light of the filing of the complaint
date of August 4, 2021, proof(s) of service were due by November 4, 2021. An action may also be
dismissed prior to such time if the Plaintiff fails diligently to prosecute the action. The Order to Show
Cause will stand submitted upon the filing of an appropriate response. No oral argument will be heard
unless otherwise ordered by the Court. Plaintiff is advised that the Court will consider the filing of a
responsive pleading to the complaint and/or proof(s) of service, which indicates proper service in full
compliance with the federal rules, on or before the date upon which the response is due, as a
satisfactory response to the Order to Show Cause.

IT IS SO ORDERED.


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                                                           Initials of Preparer      TJ




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